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                           UNITED STATES BANKRUPTCY COURT                      SF00200 (rev 06/2017)
                                 Southern District of Indiana
                                  46 E. Ohio St., Rm. 116
                                   Indianapolis, IN 46204
In re:

USA Gymnastics,                                           Case No. 18−09108−RLM−11
          Debtor.
                                                          Adv. Proc. No. 19−50012
USA Gymnastics,
             Plaintiff,
    vs.
Ace American Insurance Company,
Great American Assurance Company,
Liberty Insurance Underwriters Inc.,
et al.,
             Defendants.

                           NOTICE OF STATUS TELECONFERENCE

The Court, after reviewing this case, determines that a status teleconference is required
to evaluate the following matter(s):

         Telephonic Conference on Motion for Stay Pending Withdrawal of Reference
         filed on behalf of Defendant Ace American Insurance Company [38] and
         Response/Objection filed on behalf of Plaintiff USA Gymnastics [75]

NOTICE IS GIVEN that a status teleconference will be held as follows:

         Date: March 21, 2019
         Time: 01:30 PM EDT
         Place: 888−273−3658; access code 9247462

Motions for continuance must be filed no later than 7 days prior to the hearing. Motions
for continuance filed less than 7 days prior to the hearing will be granted only upon a
showing of good cause. Every motion for continuance must indicate whether opposing
counsel objects to the continuance or what efforts were made to contact opposing
counsel regarding the request for continuance.

Any referenced document can be found at pacer.insb.uscourts.gov or may be requested
from the filing parties.

Dated: March 20, 2019                            Kevin P. Dempsey
                                                 Clerk, U.S. Bankruptcy Court
